     Case 3:18-cv-00333-HEH Document 37 Filed 08/23/18 Page 1 of 5 PageID# 281




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


CAROLYN CUBBAGE,
Administratrix of the Estate of
Thomas Cubbage,

                     Plaintiff,

V.                                                  Civil Action No. 3:18-cv-333-HEH

PIEDMONT REGIONAL JAIL
AUTHOIUTY,et ai.

                     Defendants.


                              MEMORANDUM OPINION
                              (Granting Motion to Dismiss)

        Presently before the Court is Defendants Officer Robert Williams and Officer

James CaddelPs (collectively "Defendants") Motion to Dismiss(ECF No. 17) pursuant to

Federal Rule of Civil Procedure 12(b)(6). Defendants are subject only to Count III of the

Complaint(ECF No. I), which alleges gross negligence, and they seek dismissal ofthis

Count both as time-barred and for failing to state a claim for relief. All parties have filed

memoranda supporting their respective positions. The Court will dispense with oral

argument because the facts and legal contentions are adequately presented in the

materials before the Court, and oral argument would not aid in the decisional process.

For the reasons that follow, the Court will grant Defendants' Motion to Dismiss.

        This action stems from the death of Thomas Cubbage("Decedent") on May 29,

2016, while confined as an inmate with the Piedmont Regional Jail Authority. (CompL ^

41.) Plaintiff Carolyn Cubbage ("Plaintiff), as Administratrix of Decedent's estate.
   Case 3:18-cv-00333-HEH Document 37 Filed 08/23/18 Page 2 of 5 PageID# 282




claims that Defendants were grossly negligent in responding to Decedent's emergent

medical condition, {Id.     61-72.)

       At this stage, courts must consider "all well-pleaded allegations in the plaintiffs

complaint as true and draw[] all reasonable factual inferences from those facts in

plaintiffs favor .. .   Edwards v. City ofGoldsboro, 178 F.3d 231, 244(4th Cir. 1999)

(citing Republican Party ofN.C. v. Martin, 980 F.2d 943,952(4th Cir. 1992)). To

survive Rule 12(b)(6) scrutiny, a plaintiff must provide more than merely "labels and

conclusions" or a "formulaic recitation ofthe elements of a cause of action." Bell Atl

Corp. V. Twombly, 550 U.S. 544, 555 (2007)(citations omitted). Instead, a plaintiff must

allege facts sufficient "to raise a right to relief above the speculative level," stating a

claim that is "plausible on its face," rather than merely "conceivable." Id. at 555, 570

(citations omitted). Generally, the merits of an affirmative defense are not considered at

the motion to dismiss stage. Richmond, Fredericksburg & Potomac R.R. Co. v. Forst, 4

F.3d 244, 250(4th Cir. 1993). However,"[i]n the limited circumstances where the

allegations of the complaint give rise to an affirmative defense, the defense may be raised

under Rule 12(b)(6), but only if it clearly appears on the face of the complaint." Id.

(citations omitted).

       Defendants contend that, pursuant to Va. Code Ann. § 8.01-243.2, Plaintiffs

claim against them is untimely. § 8.01-243.2 mandates that any personal action brought

by or on behalf of a confined person "relating to the conditions of his confinement...

shall be brought [] within one year after cause of action accrues or within six months after

all administrative remedies are exhausted, whichever occurs later." First and foremost, it
   Case 3:18-cv-00333-HEH Document 37 Filed 08/23/18 Page 3 of 5 PageID# 283




is appropriate for the Court to address Defendants' statute of limitations defense at this

stage ofthe case because the Complaint presents a clear timeline of the relevant events.

See Gemaehlich v. Johnson, 599 F. App'x 473,476 {4th Cir. 2014)(affirming the Rule

12(b)(6) dismissal of a claim as time-barred under § 8.01-243.2). The cause of action for

this claim accrued on May 29, 2016, and Plaintifffiled the present action on May 17,

2018—^well outside ofthe one-year period provided for such a claim under § 8.01-243.2.

Plaintiff does not appear to dispute this; instead. Plaintiff contends that § 8.01-244

provides the appropriate statute of limitations "[b]ecause this is a wrongful death case."

(Mem.0pp. 10, ECF No. 19.) Contrary to this assertion, the Complaint does not identify

this as a wrongful death action and contains no citation to the Virginia wrongful death

statute, Va. Code. Ann. § 8.01-50. {See Compl.       60-74.) Consequently, Plaintiffs

claim for gross negligence against Defendants is barred by the statute of limitations, as

set forth in § 8.01-243.2.

       Defendants also contend that the allegations in the Complaint are insufficient to

state a claim for gross negligence. Under Virginia law, three levels of negligence exist:

simple negligence, gross negligence, and willful and wanton negligence. Cowan v.

Hospice Support Care, Inc., 603 S.E.2d 916,918(Va. 2004). Gross negligence "is a

degree of negligence showing indifference to another and an utter disregard of prudence

that amounts to a complete neglect of the safety of such other person." Id. at 918;see

also Kuykendall v. Young Life, 261 F. App'x 480, 491 (4th Cir. 2008)(holding that "the

standard for gross negligence is one of indifference, not inadequacy"). Virginia courts

have determined that gross negligence "amounts to the absence of slight diligence, or the
   Case 3:18-cv-00333-HEH Document 37 Filed 08/23/18 Page 4 of 5 PageID# 284




want of even scant care" and is a "heedless, palpable violation of legal duty respecting

the rights of others," Elliot v. Carter, 791 S.E.2d 730,732(Va. 2016)(quoting Chapman

V. City ofVa. Beach,475 S.E.2d 798, 800-01 (Va. 1996)), that would "shock fair-minded

persons." Cowan,603 S.E.2d at 918. The standard for gross negligence is exacting, and

"a claim for gross negligence must fail as a matter oflaw when the evidence shows that

the defendants exercised some degree of care." Elliot, 791 S.E.2d at 732.

       Plaintiff also falls well short of alleging that Defendants were grossly negligent in

this case. She contends that Virginia Administrative Code 6VAC15-40-1045 invested

Defendants with a duty to perform bi-hourly inspections of inmate housing areas, which

they allegedly did not do. The Court need not decide at this juncture whether 6VAC15-

40-1045 reposes in individual officers an independent duty to take action, because

Plaintiff makes no allegations suggesting Defendants' conduct remotely approached the

standard for gross negligence. She merely alleges that Defendants had a "direct or

backup" role in inspecting the housing area and that the inspection was not completed in

a timely fashion. (Compl.     20-21.)

       Plaintiffs remaining allegations do not establish a facially plausible claim that

Defendants reacted indifferently or even inadequately; to the contrary, they make clear

that Defendants responded attentively to Decedent's worsening condition. Defendants

twice called a "code blue," transported Decedent to the medical unit, attended to

Decedent throughout the ordeal, retrieved a defibrillator, and further assisted the medical

staff. (Id.   25-27,34, 36-38.) Plaintiffs contention that Defendants should have taken

different or additional actions, in spite of contrary instructions from Nurse Smith, is
    Case 3:18-cv-00333-HEH Document 37 Filed 08/23/18 Page 5 of 5 PageID# 285




unavailing. For these reasons, Plaintiff fails to plausibly allege that Defendants were

grossly negligent.

        Based on the foregoing, Defendants Motion to Dismiss will be granted and the

Complaint against them will be dismissed without prejudice.'
        An appropriate Order will follow this Memorandum Opinion.



                                                           Henry E. Hudson
        A                                                  Senior United States District Judge
Date:          23 20l9
Richmond, Virginia




'Plaintiff, of course, is free to amplify her claims against Defendants and either seek leave to amend her
complaint in this action or refile in a separate action.
